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                             IN THE UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

    IN RE: COOK MEDICAL, INC,, IVC
    FILTERS MARKETING, SALES PRACTICES
    AND PRODUCT LIABILITY LITIGATION
                                                                 Case No. 1 :14-nI-2570-RLY-TAB
                                                                 MDL No. 2570
    This Document Relates to All Actions




                             CASE MANAGEMENT ORDER #4
                    IPARTY PROFILE FORMS & FACT SHEETS PROTOCOL)

            This Order shall govern      (l) all cases transferred to this court by the Judicial Panel on
    Multidistrict Litigation, including those cases identified in the original Transfer Order and those

    subsequently transferred as tag-along actions; and (2) all cases directly filed in or removed to this

    MDL, It is ORDERED       as   follows:

            1.     Plaintiff Profïle Form

            a.     The parties have agreed upon the use of a Plaintiff Profile Form ("PPF") (Exhibit

    1), including eight (8) releases, attached to this Order. The PPF shall be completed in each case

    currently pending, and in all cases that become part of this MDL by virtue of being filed in,

    removed to, or transferred to this court.

           b.      Each plaintiff in this    MDL   as of the date of the entry of this Order shall submit a

    completed PPF to defendants by      April 15,2015. ln cases filed    or transferred after the date of this

    Order, each plaintiff shall submit a completed PPF to defendants within forty-five (45) days of

    fìling their complaint. Every plaintiff is required to provide defendants with a PPF that is

    substantially complete in all respects, answering every question in the PPF, even if a plaintiff can

    answer the question in good faith only by indicating "not applicable." The PPF shall be signed



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     by plaintiff under penalty of perjury.     If a plaintiff brings suit as representative or derivative
     capacity, the PPF shall be completed by the person with the legal authority to represent the estate

     or person under legal disability, Consortium plaintiffs shall also sign the PPF, attesting that the

    responses made to the loss      of consortium claim questions in the PPF are true and correct to the

    best of his or her knowledge, information and belief, formed after due diligence and reasonable

    inquiry.

               c.   A completed PPF shall be considered interrogatory answers under Fed. R. Civ.          P.


    33 and responsesto requests forproduction underFed. R. Civ. P.34,and              will begoverned bythe

    standards applicable to written discovery under Federal Rules 26 through          37.The interrogatories

    and requests for production in the PPF shall be answered without objection as to the question

    posed in the agreed upon PPF. This section does not prohibit a plaintiff from withholding or

    redacting information from medical or other records provided with the PPF based upon                   a


    recognized privilege.   If   information is withheld or redacted on the basis of privilege, plaintiff

    shall provide defendants with a privilege log that cornplies with Rule 26(bX5) simultaneously

    with the submission of the PPF.

            d.      Contemporaneous with the submission         of a PPF, each plaintiff shall provide   the

    defendants with hard copies or electronic files      of all medical records in their      possession or

    control, including, in parlicular, records that support product identification.

           e.       Contemporaneous with the submission of a PPF, each plaintiff shall also produce

    signed authorizations, which allow counsel         for   Defendants   to obtain medical,      insurance,

    employment, Medicare/Medicaid, and Social Security records from any healthcare provider,

    lrospital, clinic, outpatient treatment center, andlor any other entity, institution, agency or other

    custodian of records identified in the PPF and,    if applicable, the Plaintiff   Fact Sheet. The signed



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    authorizations shall be undated and the recipient line shall be left blank. These blank, signed

    authorizations constitute permission              for counsel for the Defendants to obtain the        records

    specified in the authorizations from the records custodians. In the event an institution, agency or

    medical provider to which a signed authorization is presented refuses to provide responsive

    records,     plaintiffs counsel shall resolve the issue with the institution, agency, or provider, such

    that the necessary records are promptly provided.

                f.        Each plaintiff shall immediately preserve and maintain, without deletions or

    alterations, any content of any personal webpage(s) or social media accounts currently held by

    them, including but not limited to, photographs, text, links, messages and other postings or

    profile information that is relevant to the subject matter of this litigation. "Social media"

    includes, but         it not limited to, Facebook, Myspace, Linked In, Friendster,         and/or blogs. The

    plaintiffs shall preserve this data by downloading it to a suitable storage device, by printing out

    copies on paper, or by other means consistent            with law and court rules applicable to document

    and data preservation.

            g.            If a plaintiff   does not submit a PPF   within the time specified in this Order and the

    Case Management Plan entered by the Court, defendants may move immediately to dismiss that

    plaintiff    s case   without prejudice.

            h.            If   defendants receive a PPF in the allotted time but the PPF is not substantially

    complete, defendants' counsel shall send defìciency correspondence by e-mail andlor U.S. mail

    to Plaintiffs' Lead Counsel and the plaintiffs' individual representative counsel, identifying the

    purported deficiencies. Plaintiff shall have twenty (20) days from receipt to serve a PPF that is

    substantially complete in all respects. This correspondence shall include sufficient detail for the

    parties to meet and confer regarding the alleged deficiencies.



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            i.       Any plaintiff who fails to comply with the PPF obligations under this Order may,

    for good cause shown, be subject to sanctions, to be determined by the court, upon motion of the

    defendants.

            2.       Plaintiff Fact Sheet

            a.       Each plaintiff in this   MDL   as of the date of the entry of this Order shall submit a

    conrpleted Plaintiff Fact Sheet ("PFS") (Exhibit 2) to defendants by         April 15,2015. In     cases

    filed or transferred after the date of this Order, each plaintiff shall submit a completed PFS to

    defendants    within forty-five (45) days of filing their complaint. The PFS shall be signed by

    plaintiff under penalty of perjury. The PFS shall constitute the initial defendant-specific

    discovery of plaintiff, and the defendant shall not serve upon plaintiff any interrogatories or

    requests for production    of documents that are specific to an individual case unless the case is

    chosen as a discovery pool case.

           b.       Contemporaneous      with the submission of their PFS, plaintiffs shall provide the

    following categories    of   information posted by the plaintiff on any social media websites

    identified in the PFS disclosures:

                    l)      Photographs and/or videos,      if any, posted by the plaintiff which   show the

           plaintiff taking part in physical or recreational activity from one year preceding the date

           of his or her implant through the date of the signing of the PFS and any comments, posts,

           or messages made by the plaintiff related to same.

                    2)      Photographs or videos,     if any, posted by the plaintiff showing plaintiff   in

           the hospital, at the doctor's office, or recoveringafter the date(s) of his or her implant or

           retrieval, if any, and any comments, posts, or messages made by the plaintiff related to

           same;



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                   3)      Comments, posts or messages,           if   any, made by the plaintiff regarding

            inferior vena cava filter product(s), the procedure(s) or surgery(ies) at issue;

                   4)      Comments, posts or messages,          if any, made by the plaintiff regarding any

            significant health conditions of the plaintiff from one year preceding the date of his or her

            implant date through the date of the signing of the PFS;

                   5)      Where plaintiff has alleged emotional injury other than pain and suffering,

            comments, posts or messages,    if any, made by plaintiff regarding        the   plaintiff s emotional

           condition from one year preceding the date of his or her implant date through the date of

           the signing of the PFS; and

                   6)      Comments, posts, links, messages or pages,             if any,   made by the   plaintiff

           concerning the plaintiffls lawsuit or inferior vena cava filter litigation in general.

           Plaintiffs pursuing a consortium claim shall likewise produce the information set forth in

    1) through 6) above that is posted by either   plaintiff on his/her social media website(s) regarding

    the plaintiff in whom the device was implanted.

           The information required to be produced pursuant to             l)   through 6) above includes any

    otherwise responsive information that may have been marked "private" on the plaintiff s social

    media website(s). Where materials produced pursuant to this section contain private medical or

    other information about a non-party, the plaintiff shall redact identifying and/or any other

    information pertaining to that non-party.

           c.      If defendants   receive a PFS in the allotted time but the PFS is not substantially

    complete, defendants' counsel shall send deficiency correspondence by e-mail andlor U.S. mail

    to the Plaintiffs'Lead Counsel and the plaintiffs' individual representative counsel, identifying

    the purported deficiencies. The plaintiff shall have twenty (20) days from receipt of that


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    correspondence to serve a PFS that is substantially complete in all respects. This correspondence

    shall include sufficient detail for the parties to meet and confer regarding the            alleged

    deficiencies.

             d.     Any plaintiff who fails to cornply with the PFS obligations under this Order may,

    for good cause shown, be subject to sanctions, to be determined by the court, upon motion of the

    defendants.

             3.     Defendant Fact Sheet

             a.     The parties have agreed upon the use of a Defendant Fact Sheet ("DFS") (Exhibit

    3), attached to this Order. The DFS shall be completed in each case currently pending, and in all

    cases that become part   of this MDL by virtue of being filed in, removed to, ortransferred to this

    court.

             b.     For each plaintiff in currently filed cases that were a part of this MDL as of the

    date of the entry of this Order the defendants shall submit a completed DFS to plaintiffs by May

    15,2015, In cases filed or transferred after the date of this Order, the defendants shall submit   a


    completed DFS to plaintifß within ninety (90) days of filing. Defendants are required to provide

    plaintifß with a DFS that is substantially complete in all respects, answering every question in

    the DFS, even    if a defendant can answer the question in good faith only by indicating      "not

    applicable," The DFS shall be signed by defendants under penalty of perjury, The DFS shall

    constitute the initial plaintifÈspecific discovery of defendants, and no plaintiff shall serve upon

    any defendant interrogatories or requests for production of documents lhat are specific to an

    individual plaintiff, treating physician, or sales representative unless the case is chosen as     a


    discovery pool case.




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             c.      A completed DFS shall be considered interrogatory answers under Fed. R. Civ.            P.


    33 and responses to requests for production under Fed. R. Civ. P.34, and     will   be governed by the

    standards applicable to written discovery under Federal Rules 26 through 37. The interrogatories

    and requests for production in the DFS shall be answered without objection as to the questions           as


    posed    in the agreed upon DFS. However, defendants may assert objections                 relevant to

    information specific to an individual plaintiff in the DFS, where appropriate in that case.

             d.      If a defendant fails to timely subrnit a DFS, or submits within the allotted time   a


    DFS that is not substantially complete, the Plaintiffs' Lead Counsel shall send a deficiency

    correspondence by e-mail andlor U.S. mail           to Counsel for that defendant, identifying       the

    purported deficiencies. This correspondence shall include sufficient detail for the parties to meet

    and confer regarding the alleged defrciencies. Defendant shall have twenty (20) days from

    receipt of that correspondence to serve a DFS that is substantially complete in all respects.

    Should a defendant fail to cure the deficiencies identified and fail to provide responses that are

    substantially complete    in all   respects   within twenty (20) days of service of the deficiency

    correspondence, plaintiff may move for appropriate relief under Federal Rule of        Civil Procedure

    37. Any such filing shall be served on Lead Counsel for that defendant, with any response to

    such   filing to be submitted within ten (10) days following the date of service. Any such filing

    should include the efforts the plaintiffs made          to meet and confer regarding the       alleged

    deficiencies in the DFS and failure to cure.

            e.       Any defendant who fails to comply with the DFS obligations under this Order

    may, for good cause shown, be subject to sanctions, to be determined by the court, upon motion

    of the plaintiffs,




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    SO ORDERED this:




                                            Tim A. Baker
                                            United Stâtes Magistrate Judge
                                            Southern District of Indiana

    AGREED TO BY:



    s/Irwin B. Levin (with consent)          s/ Christopher D. Lee
    Irwin B. Levin, Esq.                     Douglas B. King, Esq.
    COHEN & MALAD LLP                        James M. Boyers, Esq.
    One Indiana Square, Suite 1400           Christopher D. Lee, Esq.
    Indianapolis, Indiana 46204              John C. Babione, Esq.
    Tel:    (317) 636-6481                   Sandra L. Davis, Esq,
    Fax: (317) 636-2593                      Kip S. M. McDonald, Esq.
    i levin@cohenandmalad.com                WOODEN & MCLAUGHLIN LLP
                                             One Indiana Square, Suite 1800
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                                             Tel: (317) 639-61s1
                                             Fax: (317) 639-6444
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                                            jboyers@woodmclaw.com
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                                             sdavis@woodmclaw.com
                                             kmcdonal d@woodmclaw, com

                                             Counsel for Cook Defendants




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                                  IN THE UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF INDIANA

                                        MDL No. 2570
         IN RE: COOK MEDICAL, INC., IVC FILTERS MARKETING, SALES PRACTICES AND
                            PRODUCT LIABILITY LITIGATION


        In completing this Plaintiff Profile Form, you are under oath and must provide information that
        is true and correct to the best of your knowledge, The Plaintiff Profile Form shall be cornpleted
        in accordance with the requirements and guidelines set forth in the applicable Case Management
        Order.

                                                I. CASE INFORMATION

    Caption:                                                                   Date:
    Docket No.:
    Plaintiff(s) attorney and Contact information:




                                            II. PLAINTIFF INFORMATION

    Name:
    Spouse:                                                                Loss of Consortium? ¡Yes             ¡   No
    Address:
    Date of birth
    Social Security No.:

                                             III. DEVICE INFORMATION'

    Date of Implant:
    Reøsonfor Implanl
    Brand Name:                                                                  Mfr.
    Lot Number:
    Placement Physician:
    Medical Facility




    I
        Note: In lieu of device information, the relevant procedure/operating records may be provided, as long as all
    requested information is     fully legible on the face of said records.

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  Date of Implant:
  Reøson for Implant
  Brand Name:                                                    Mfr.
  Implanting Physician:
  Medical Facility

                          . Attach medícal evidence of product ídentfficøtion,
           IV. RETRIEVAL/REMOVALÆXPLANT PROCEDURE INFORMATION

  Date of retrieval (including any attempts)
  Type of retrìeval
  Retrieval physician:
  Medical Facility:
  Reason for Retrieval:


  Date of retrieval (including any attempts)
  Type of retrievøl:
  Retrieval physician:
  MedicalFacility
  Reason for Retrieval:


  Date of retrieval (including any attempts)
  Type ofretríeval:
  Retrieval physician:
  Medical Facility
  Reason for Retrieval:


  Date of retrieval (including any attempts):
  Type of retrieval
  Retrieval physician:
  Medical Facility:
  Reason for Retrieval:

                           V. OUTCOME ATTRIBUTED TO DEVICE

  ¡   Migration                                  ¡   Other
  o Tilt                                         ¡   Other
  ¡   Vena Cava Perforation                      ¡   Other
  ¡   Fracture                                   ¡   Other
  ¡   Device is unable to be retrieved           ¡   Other
  ¡   Bleedins                                   ¡   Other
  ¡   Orqan Perforation                          ¡   Other


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            vr. How ourcoME(s)                 ATTRTBUTED TO DEVICE DETERMINEn

                                                      by
  (e.g, imagine studies, surgery, doctor visits)
                                                      by

                                                      by

                                                      by


                                    VII.   CURRENT COMPLAINTS

  Describe all current complaints you attribute to the device




                                           VIII.    PAST HISTORY

  Number of Deep Vein      Thromboses:                 Number of Pulmonary Emboli:

  Prior to, or following placement of the device, have you ever had or been diagnosed with:

                 Lupus
                 Crohn's Disease
                 Factor V Leiden
                 Protein Deficiency
                 Spinal fusion or other back procedures
                 Anti-thrombin deficiency
                 Prothrombin mutation

  Are you claiming damages for lost wages: [ ] Yes         I I No
  If so, for what time period:
  Have you filed for bankruptcy from 5 years prior to the date of first placement of the
  Inferior Vena Cava Filter to the present?: [ ] Yes [] No
  If so, when, and has the bankruptcy trustee been notified of your pending claim?


  Do you have a computer?      []   Yes    I   No

  Ifso, are you a member of Facebook, Twitter, Instagram, Vine, Snapchat, YouTube,
  Linkedln or other social media websites?
  []Yes[]No

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  Please provide all user names, handles, login names, or IDs and/or email addresses
  associated with each type of social media used. Please do not include any passwords:



    rx. LIST ALL TREATTNG PHYSICIANS FROM TEN (10) YEARS PRIOR TO THE
   DATE OF FIRST PLACEMENT OF THE INFERIOR VENA CAVA FILTER, TO THE
    PRESENT. INCLUDE ALL PRIMARY CARE PHYSICIANS, INTERVENTIONAL
   RADIOLOGISTS, VASCULAR SURGEONS, HEMATOLOGISTS, PSYCHIATRISTS,
              PSYCHOLOGISTS, OR ANY OTHER SPECIALISTS.

  Primary Care Physicians   :



  Name:

  Address:

  Approximate Period of Treatment:


  Name:

  Address:

  Approximate Period of Treatment:




  Name:

  Address:

  Approximate Period of Treatment:


  Name:

  Address:

  Approximate Period of Treatment:


  Name:

  Address:



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  Approximate Period of Treatment:


  Name:

  Address:

  Approximate Period of Treatment:


  Name:

  Address:

  Approximate Period of Treatment:


  Name:

  Address:

  Approximate Period of Treatment:



  emotional/nsvcholosical iniurv other than usua I r6nain and sufferins and mental ansuish'o):

  Name:

  Address:

  Approximate Period of Treatment:


  Name:

  Address:

  Approximate Period of Treatment:

     Attach additíonal pages üs needed lo ìdentífy other health cøre províders you høve seen.




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                                        AUTHORIZATIONS

          Provide ONE   (l)   SIGNED ORIGINAL copy of the records authorization form attached

  in Exhibit A. The form will authorize counsel for the Cook Group Companies to obtain those

  records identifred within this Claimant Proflrle Form.




                                          VERIFICATION

          I,                                    declare under penalty      of   perjury subject   to   all

  applicable laws, that I have carefully reviewed the final copy of this Claimant Profile Form dated

                                                   and verified that   all of the information provided

  is true and correct to the best of my knowledge, information and   belief




                                                              ISignature of Claimant]




                 VERIFICATION OF LOSS OF CONSORTIUM lif apnlicable)

         I,                                     declare under penalty      of perjury   subject   to   all

  applicable laws, that I have carefully reviewed the final copy of this Claimant Profile Form dated

                                                       and verified that      all of the   information

  provided is true and correct to the best of my knowledge, information and belief.




                                                              IS   ignature of Consortium Plaintiff]


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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION
  IN RE: COOK MEDICAL, INC,, IVC
  FILTERS MARKETING, SALES PRACTICES
  AND PRODUCT LIABILITY LITIGATION
                                                        Case No.: l:14-ml 2570-RLY-TAB
                                                        MDL No. 2570
  This Document Relates:

  Case No:




  Plaintiff:
                 [Name of Plaintiff]

                                       PLAINTIFF FACT SHEET

          Each   plaintiff who allegedly suffered injury as a result of a Cook Inferior Vena Cava
  Filter must complete the following Plaintiff Fact Sheet ("Fact Sheet"). In cornpleting this Fact
  Sheet, you are under oath and must answer every question, You must provide information
  that is true and correct to the best of your knowledge. If you cannot recall allof the details as
  requested, please provide as much information as you can and then state that your answer is
  incornplete and explain why, as appropriate. If you select an "l Don't Know" answer, please state
  all that you do know about that subject. If any information you need to complete any part of the
  Fact Sheet is in the possession of your attorney, please consult with your attorney so that you can
  fully and accurately respond to the questions set out below. If you are completing the Fact Sheet
  for someone who cannot complete the Fact Sheet herself, please answer as completely as you
  can.

          The Fact Sheet shall be cornpleted in accordance with the requirements and guidelines set
  forth in the applicable Case Management Order, A completed Fact Sheet shall be considered
  interrogatory answers pursuant to Fed. R. Civ. P. 33 and 34 and will be governed by the
  standards applicable to written discovery under Fed. R. Civ. P. 26 through 37. Therefore, you
  must supplement your responses if you learn that they are incomplete or incorrect in any material
  respect, The questions and requests for production of documents contained in this Fact Sheet are
  non-objectionable and shall be answered without objection. This Fact Sheet shall not preclude
  Cook Defendants from seeking additional documents and information on a reasonable, case-by-
  case basis, pursuant to the Federal Rules of Civil Procedure and as permitted by the applicable
  Case Management Order.




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          In frlling out this form, "healthcare provider" shall mean any medical provider, doctor,
  physician, surgeon, pharmacist, hospital, clinic, medical center, physician's office, infirmary,
  medical/diagnostic laboratory, or any other facility that provides medical care or advice, along
  with any pharmacy, x-ray department, radiology department, laboratory, physical
  therapist/physical therapy department, rehabilitation specialist, chiropractor, or other persons or
  entities involved in your diagnosis, care and/or treatment.

         In filling out this form, the terms "You" or "Your" refer to the person who received a
  Cook Vena Cava Filter manufactured and/or distributed by Cook Group Cornpanies, including
  Cook Medical Incorporated, Cook Incorporated, Cook Group Incorporated andlor William Cook
  Europe ApS ("Cook Group Defendants") and who is identified in Question I. 1 (a) below.

         To the extent that the form does not provide enough space to complete your responses or
  answers, please attach additional sheets as necessary, Information provided by Plaintiff  will only
  be used for the purposes related to this litigation and may be disclosed only as permitted under
  the protective order in this litigation.

          Nothing herein prohibits the plaintiff from withholding any materials or information
  protected by a claim of privilege, however, a privilege log will be made available to Cook
  Defendants'counsel.

                               I. BACKGROUND           INFORMATION

  L      Please state

         a)      Full name of the person who received the Cook lnferior Vena Cava Filter(s),
                 including maiden nam,e:

         b)      If you are completing this form in a representative capacity (e.9., on behalf of the
                 estate of a deceased person), please list your full name and your relationship to
                 the person listed in I (a) above:



                 [f  you are completing this form in a representative capacity, please respond to the
                 remaining questions with respect to the person who received the Cook IVC
                 Filter.l

         c)     The name and address of your primary attorney

  2.     Your Social Security Number:

  J      Your date of birth:

  4      Your current residential address:



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  5.       If you have lived   at this address   for less than ten (10) years, provide each of your prior
  residential addresses from 2000 to the present:

                      Prior Address                               Dates You Lived at this Address




  6        Have you ever been married? Yes         _   No

           If   yes, provide the names and addresses of each spouse and the inclusive dates of your
           marriage to each person.




  7        Do you have children? Yes       _     No

           If   yes, please provide the following information with respect to each child

      Full Name of Child         Date of                 Home Address                      Whether
                                  Birth           (if different from Your own)        Bioloeical/Adopted




  8        Identify the name and age of any person who currently resides with you and their
           relationship to you:




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  9        Identify all secondary and post-secondary schools you attended, starting with high school
           and please provide the following information with respect to each:

   Name of School                Address              Dates   of       Degree           Major or
                                                    Attendance        Awarded         Primary Field




  10       Please provide the following information for your employment history over the past ten
           (10) years up until the present:

         Name of                 Address                Job           Dates of        Salary/Rate of
        Employer                                 Title/Description   Employment            Pay
                                                      of Duties




  11.      Have you ever served in any branch of the military? Yes    _No
           If   yes, please provide the    following information:
                                                                                -
           a.        Branch and dates ofservice, rank upon discharge and the type ofdischarge you
                     received:

           b.        Were you discharged from the military at any time for any reason relating to your
                     medical, physical, or psychiatric condition? Yes _  No

           If   yes, state what that condition was




  12.     Within the last ten (10) years, have you been convicted of, or plead guilty to, a felony
          and/or crime of fraud or dishonesty? Yes _ No _




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        If   yes, please set forth where, when and the felony and/or crime of fraud and/or
        dishonesty:




                                    II. CLAIM INFORMATION
  1)    Have you ever received a Cook Inferior Vena Cava Filter?      Yes     No

        If yes, please check the box(es) for each type of Cook Inferior Vena Cava Filter you have
        received:

         [ ] Cook Celect@

         [ ] Günther Tulip@

         [ ] Other þlease identify)

  2)    For each Cook Inferior Vena Cava Filter identified above, please provide the following
        information:

        a)       The date each Cook Inferior Vena Cava Filter was implanted in you:

        b)       The product code and lot number of each Cook Inferior Vena Cava Filter you
                 received if you are aware of them

        c)       Location of the Cook Inferior Vena Cava Filter, if known:


  3)    Describe your understanding of the medical condition for which you received the Cook
        Inferior Vena Cava Filter(s):

  4)    Give the name and address of the doctor who implanted the Cook Inferior Vena Cava
        Filter(s):

  5)    Give the name and address of the hospital or other healthcare facility where the Cook
        Inferior Vena Cava Filter was implanted:



  6)    Have you ever been implanted with any other vena cava filters or related product(s)
        besides the Cook Inferior Vena Cava Filter(s) for the treatment of the same condition(s)
        identified in your answer to (3) above?




                                                   5
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        Ifyes, please identify any such device(s) or product(s).

        When was this device or product implanted in you?

        Did the implantation take place before, at the same time, or after the procedure during
        which you were implanted with a Cook Inferior Vena Cava Filter?

        Who was the physician(s) who implanted this other device or product?

        Where was the other device or product implanted in you?

        Why was the other device or product implanted in you?

  7)    Prior to implantation with a Cook Inferior Vena Cava Filter, did you receive any written
        and/or verbal information or instructions regarding the Cook Inferior Vena Cava Filter(s),
        including any risks or complications that might be associated with the use of the same?

        Yes    _     No    _    Don't   Know_
        If   yes:

        a)          Provide the date you received the written and/or verbal information or
                    instructions:

        b)          ldentify by name and address the person(s) who provided the information or
                    instructions:

        c)          What information or instructions did you receive?

        d)          If you have copies of the written information or instructions you received,   please
                    attach copies to your response.

        e)          Were you told of any potential complications from the implantation of the Cook
                    Inferior Vena Cava Filter(s)? Yes     No       Don't Know
                                                           -
                                                                 -
        Ð           If   yes to (e), by whom?

        g)          If   yes to (e), what potential complications were described to you?

  8)    Do you believe that the Cook Inferior Vena Cava Filter remains implanted in you? If so,

        a)          Has any doctor recommended removal of the Cook Inferior Vena Cava Filter(s)?
                    Yes        No

        If yes, identify by name and address the doctor who recommended removal            and state
        your understanding of why the doctor recommended removal.



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   e)    Has any physician ever told you that he or she removed any Cook Inferior Vena Cava
         Filter(s) from you, in whole or in part?

         Yes   _         No   _   Don't Know

         If yes:

        a)          Identify the date, name of the medical provider and the name/address of the
                    medical facility where you told of the potential complications resulting from or
                    caused, in whole or in part, by the implantation of Cook Inferior Vena Cava
                    Filter(s)?

        b)          Where, when and by whorn was the Cook Inferior Vena Cava Filter(s), or any
                    portion of it, removed?

        c)          Explain why you consented to have the Cook Inferior Vena Cava Filter(s), or any
                    portion of it, removed?

        d)          Does any rnedical provider, physician, entity, or anyone else acting on your behalf
                    have possession of any portion of the Cook Inferior Vena Cava Filter (such as a
                    broken strut, etc.) that was previously implanted in you and subsequently
                    removed?      Yes No         Don't Know

        e)          lf   yes, please state name and address of the person or entity having possession   of
                    same.


  l0)   Do you clairn that you suffered bodily injuries as a result or the implantation of Cook
        lnferior Vena Cava Filter(s)?          Yes
                                              No

        If   yes:

        a)          Describe the bodily injuries, including any emotional or psychological injuries,
                    that you claim resulted from the implantation, attempted removal andlor removal
                    of the Cook Infèrior Vena Cava Filter(s)?



        b)          When is the first tirne you experienced symptoms of any of the bodily injuries you
                    claim in your lawsuit to have resulted from the Cook Inferior Vena Cava
                    Filter(s)?




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            c)        When did you first attribute these bodily injuries to the Cook Inferior Vena Cava
                      Filter(s)?



            d)        To the best of your knowledge and recollection, please state the approximate date
                      when you first saw a health care provider for each of the bodily injuries you claim
                      to have experienced relating to the Cook Inferior Vena Cava Filter(s).



            e)        Are you currently experiencing symptoms related to your claimed bodily injuries?

                      Yes      No

            If   yes, please describe your current symptoms in detail.

            Ð         Are you currently seeing, or have you ever seen by a doctor or healthcare provider
                      for any of the bodily injuries or symptoms listed above? Yes No

            lf   yes, please list all doctors you have seen fortreatment of any of the bodily injuries you
            have listed above.

  Provider Name and Address                   Condition Treated                Approximate Dates of
                                                                                    Treatment




            g)        Were you hospitalized at any time for the bodily injuries you listed above?

                      Yes      No

  If   yes, please provide the following:

  Hospital Name and Address                   Condition Treated                Approximate Dates of
                                                                                    Treatment




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   I   l)   Are you making a claim for lost wages or lost earning capacity?

            Yes        No

            If   yes, state the annual gross income you derived from your employment for each year,
            beginning five (5) years prior to the implantation of the Cook Inferior Vena Cava Filter(s)
            until the present:

  12)       Are you making a claim for lost out-of-pocket expenses? Yes      _    No   _
            If   yes, please identify and itemize all out-of-pocket expenses you have incurred.

  l3)       Has anyone filed a loss of consortium claim in connection with your lawsuit regarding
            the Cook Inferior Vena Cava Filter(s)?

            Yes        No

            If yes, identify by name and address the person who filed the loss of consortium claim
            ("Consortium Plaintiff') and state the relationship of that person to you, along and state
            the specific nature of the claim.


  14)       Please indicate whether the Consortium Plaintiff alleges any of the damages set forth
            below:

                          Claims                      Yes/No
            Loss of services of spouse
            Impaired sexual relations
            Lost wages/lost earnin g capacity
            Lost out-of-pocket expenses
            Physical iniuries
            Psycho logical inj uries/emotional
            iniuries
            Other

  15)       Please list the name and address of any healthcare providers the Consortium     Plaintiff   has
            sought treatment for any physical, emotional, or psychological injuries or symptoms
            alleged to be related to his/her claim.




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   16)    Have you or anyone acting on your behalf had any communication, oral or written, with
          any of the Cook Defendants and/or their representatives?

          Yes No                Don't Know

          If   yes, set   forth: (a) the date of the communication, (b) the method of communication, (c)
          the name of the person with whom you communicated, and (d) the substance of the
          communication.




                                      III.   MBDICAL BACKGROUND

  l)      Provide your current:       Age             Height               Weight

  2)      Provide    your: Age _       Weight                 approxirnate, if unknown) at the
          time the Cook Inferior Vena Cava Filter was implanted in you.

  3)      In chronologicalorder, list any and all surgeries, procedures andlor hospitalizations you
          had in the ten (10) year period BEFORE implantation of the Cook lnferior Vena Cava
          Filter(s). Identify by name and address the doctor(s), hospital(s) or other healthcare
          provider(s) involved with each surgery or procedure; and provide the approximate date(s)
          for each:

       Approximate Date              Description of Surgery        Doctor or Healthcare Provider
                                       of Hospitalization           Involved (includine address)




         [Attach additional sheels qs necessary lo provide lhe same informalionþr any and all surgeries
         leacling up to implantation of the Cook Inferior Vena Cava Fiher(s)J




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  4)       In chronological order, list any and all surgeries, procedures and/or hospitalizations you
           had AFTER implantation of the Cook Inferior Vena Cava Filter(s), Identify by name and
           address the doctor(s), hospital(s) or other healthcare provider(s) involved with each
           surgery or procedure; and provide the approximate date(s) for each:

       Approximate Date          Description of Surgery        Doctor or Healthcare Provider
                                   of Hospitalization           Involved (including address)




  s)      To the extent not already provided in the charts above, provide the name, address, and
          telephone number of every doctor, hospital or other health care provider from which you
          have received medical advice andlor treatment in the past ten (10) years:

       Name and Specialty               Address              Approximate Dates/Years of Visits




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  6)    Beþre the implantation of the Cook Inferior Vena Cava Filter(s), did you regularly
        exercise or participate in activities that required lifting or strenuous physical activity?
        (Please describe all range of physical activities associated with daily living, physical
        fitness, household tasks, and employment-related activities.)

        Yes         No

        If   yes, please describe each activity in detail.




  7)    Since the date that the Cook Inferior Vena Cava Filter(s) was implanted, have you
        regularly exercised, or regularly participated in activities that required lifting, or regularly
        engaged in strenuous physical activity? (Please describe all range of physical activities
        associated with daily living, physical fitness, household tasks, and employment-related
        activities.)

        Yes        No

        If   yes, please describe each activity in detail,




   8)   To the best of your knowledge, have you ever been told by a doctor or another health care
        provider, that you have suffered, may have suffered, or presently do suffer from any of
        the following:

                          Lupus
                          Crohn's Disease
                          Factor V Leiden
                          Protein Deficiency
                          Spinal fusion or other back procedures
                          Anti-thrombin defi ciency
                          Prothrombin mutation




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        THE FOLLOWING QUESTIONS ARE CONFIDENTIAL AND SUBJECT TO THE
        PROTECTIVE ORDER APPLICABLE TO THIS CASE.

        A)          Have you been diagnosed with andlot treated for any drug, alcohol, chemical
                    and/or any other addiction or dependency during the fìve (5) years prior to the
                    fìling of this lawsuit through the present? Yes     _   No

        If   yes, specify type and time period of dependency, type of treatment received, name         of
                    treatment provider, and current status of condition:

        B)          Have you experienced, been diagnosed with or received psychiatric or
                    psychological treatment of any type, including therapy, for any mental health
                    conditions including depression, anxiety or other emotional or psychiatric
                    disorders during the five (5) years prior to the filing of this lawsuit through the
                    present? Yes _ No _

        If yes, specify condition, date of onset, medication/treatment, treating physician       and
        current status of condition:



   9)   Do you now or have you ever smoked tobacco products? Yes              _   No   _
        If   yes:

        How long have/did you smoke?

  l0)   Other than the implantation of the Cook Inferior Vena Cava Filter device that is the
        subject of your lawsuit, are you aware of any other Vena Cava Filter(s) implanted inside
        your    body? Yes _          No   _
        If   yes, please provide the   following information:

        a)          Product name:

        b)          Date of procedure placing it and name and address of doctor who placed it:



        c)          Condition sought to be treated through placement of the device:




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         d)       Any complications you encountered with the medical product or procedure:



         e)       Does that product remain implanted inside of you   today?   Yes     No

   1l)   List each prescription medication you have taken for more than three (3) months at a
         time, within the last flrve (5) years prior to implant, giving the name and address of the
         pharmacy where you received/filled the medication, the reason you took the medication,
         and the approximate dates of use.

     Medication and            Pharmacy                Reason for Taking      Approximate Date(s)
         Dosage             Name and Address              Medication                of Use




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                                   IV. INSURANCE INFORMATION

   l)     Provide the following information for any past or present medical insurance coverage
          within the last ten (10) years:

   Insurance Company             Policy Number                 Name of Policy           Approximate
    Name and Address                                         Holder/Insured (if      Dates of Coverage
                                                          different than yourself)




  3)      To the best of your knowledge, have you been approved to receive or are you receiving
          Medicare benefits due to age, disability, condition or any other reason or basis?

          Yes        No

          If   yes, please specify the date on which you first became eligible




  [Please note; if you are not currently a Medicare-eligible beneficiary, but become eligible for Medicare
  during the pendency of this lawsuit, you must supplement your response al that time. This information is
  necessaryfor all parties Ío comply with Medicare regulalions. See 42 U.S.C. 1395y(b)(B), also known as
  Section l I I of the Medicare, Medicaid and SCHIP Extension Act of 2007 and 42 U.S.C. I 395yþ) (2) also
  lcnown as the Medicare Secondary Payer Act.l




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                                V. PRIOR CLAIM INFORMATION
   l)   Have you f,rled a lawsuit or made a claim in the last ten (10) years, other than in the
        present suit relating to any bodily injury?

        Yes        No

        If   yes, please specify the following:

        a)        Court in which lawsuit/claim was filed or initiated:

        b)        Case/Claim Number:

        c)        Nature of Claim/Injury

  2)    Have you applied for Workers' Compensation (WC), Social Security disability (SSI or
        SSD) benefits, or other State or Federal disability benefits within the past ten (10) years?

        Yes        No

        If   yes, please specify the following:

        a)        Date (or year) of application:

        b)        Type ofbenefits sought:

        c)        Agency/lnsurer from which you sought the benefits:

        d)        The nature of the claimed injury/disability:

        e)        Whether the claim was accepted or denied:




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                                       VI. FACT WITNESSES

      l)   Identify by name, address and relationship to you, all persons (otherthan your healthcare
           providers) who possess information concerning your injuries andlor current medical
           condition:

            Name                   Address             Relationship to          Information You
                                                             You            Believe Person Possesses




       VII. IDENTIFICATION OF DOCUMENTS AND OTHER ELECTRONICALLY
                                  STORED TNFORMATION (ESI)

  For the period beginning three (3) years prior to the implantation of the Cook lnferior Vena Cava
  Filter, please identify all research, including on-line research, that you conducted regarding the
  medical complaints or condition for which you received the Cook Inferior Vena Cava Filter
  (pulmonary thromboembolism, anticoagulant therapy, etc,) Identify the date, time, and source,
  including any websites visited. (Research conducted to understand the legal and strategic advice
  of your counsel is not considered responsive to this request.)




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                                VIII. DOCUMENT REQUBSTS
  l)     DOCUMENTS. State whether you have any of the following documents in your
  possession,custody,and/orcontrol. Ifyoudo,pleaseprovideatrueandcorrectcopyofany
  such documents with this completed Fact Sheet.

        a)     If you were appointed by a Court to represent the plaintiff in this lawsuit, produce
               any documents demonstrating such appointment.

               i.     Not Applicable

               ii.    The documents are     attached              tOR] I have no documents
        b)     If you represent the Estate of a deceased person in this lawsuit, produce a copy of
               the decedent's death certificate and autopsy report (if applicable).

                      Not Applicable

                      The documents are attached                 [OR]    I have no documents

        c)    Produce any communications (sent or received) in your possession, which shall
                                                   - any computer on which you have sent or
              include materials accessible to you from
              received such communications, concerning the Cook Inferior Vena Cava Filte(s)
              or subject of this litigation, including, but not lirnited to all letters, emails, blogs,
              Facebook posts, Tweets, newsletters, etc. sent or received by you. (Research
              conducted to understand the legal and strategic advice of your counsel is not
              considered responsive to this request.)

              i.      Not Applicable

              ii.     The documents are attached                 [OR] I have no documents-
        d)    Produce all documents, including journal entries, lists, memoranda, notes, diaries,
              photographs, video, DVDs or other media, discussing or refèrencing the Cook
              Inl'erior Vena Cava Filter(s), the injuries and/or damages you claim resulted from
              the Cook Inferior Vena Cava Filter(s), and/or evidencing your physical condition


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              from three (3) years prior to the implantation of Cook Inferior Vena Cava Filter(s)
              to present. (Research conducted to understand the legal and strategic advice of
              your counsel is not considered responsive to this request.)

                      Not Applicable

              ll.        The documents are attached         [OR] I have no documents
        e)    Produce any Cook Inferior Vena Cava Filter product packaging, labeling,
                                                      -
              advertising, or any other product-related items in your possession, custody or
              control.

                     Not Applicable

                      The documents are attached            [OR]    I have no documents

        Ð     Produce all documents concerning any communication between you and the Food
                                                      -
              and Drug Administration (FDA), or between you and any employee or agent of
              the Cook Group Defendants, regarding the Cook Inferior Vena Cava Filter(s) at
              issue, except those communications which are attorney/client or work product
              privileged.

              l.     Not applicable

              il     The documents are attached             [OR] I have no documents-
        s)   Produce all documents, correspondence or communication in your possession,
             custody or control relating to the Cook Inferior Vena Cava Filter, which was
             exchanged between Cook Group Defendants, your healthcare providers or you,
             except those communications which are attorney/client or work product
             privileged.

                     Not applicable
                     'fhe documents are attached            [OR]    I have no documents

        h)   Produce all documents describing risks andlor benefits of inferior vena cava
                                                   - procedure, including but not limited to any
             filters, which you received before your
             risl<s andlor benefits associated with the Cook lnferior Vena Cava Filter(s)
             implanted in you.

                     Not applicable

                     The documents are attached             [OR] I have no documents


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        i)      Produce any and all documents reflecting the rnodel number and lot number of the
                Cook Inferior Vena Cava Filter(s) you received.

                        Not applicable

                lt,     The documents are attached                [OR]   I have no documents

        i)      If you underwent surgery or any other procedure to remove, in whole or in paft,
                                                   - produce any and all documents, other than
                the Cook Inferior Vena Cava Filter(s),
                documents that may have been generated by expert witnesses retained by your
                counsel for litigation purposes, that relate to any evaluation of the Cook Inferior
                Vena Cava Filter(s) removed from you.

                i.      Not applicable

                ll      The documents are attached                [OR]   I have no   documents_
        k)      If you claim lost   wages or lost earning capacity, produce copies of your Federal
                and State tax returns for the five (5) years prior to implantation of the Cook
                Inferior Vena Cava Filter(s) to the present redacting irrelevant information.

                        Not applicable

                        The documents are attached               [OR] I have no documents
        r)      Alldoouments in your possession, custody or cotrtrol coltceruing paynient by
                                                   - and relating to the injuries claimed in this
                Medicare on behalf of the injured party
                lawsuit. This includes, but is not limited to Interim Conditional Payment
                summaries andlor estimates prepared by Medicare or its representatives regarding
                payments made on your behalf for medical expenses relating to the subject of this
                litigation.

                        Not Applicable

                        'l'he documents are attached                     I have no documents
                                                                 [OR]
        [Please note; if you are nol currently a Medicare-eligible beneficíary, but become eligible for
                                                        - must supplement your response at thal time.
        Medicare during the pendency of this lawsuit, you
        This inþrmation is necessary for all parties to comply with Medicare regulalions. See 42 U.S.C.
        I395yþ)(S), also known as Section I I I of the Medicare, Medicaid and SCHIP Extension Act ol'
        2007 and 42 U.S.C. 1395y(b)(2) also known as lhe Medicare Secondary Payer Act.l

        m)      Screenshots of all webpages of each typc of social media used by you (including,
                but not limited to, Facebook, Twitter, Instagram, Vine, Snapchat, YouTube,
                Linkedln) showing any and all "posts" and/or "messages" from the date of
                implantation to the present.

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              i.    Not Applicable

              ii.   The documents are attached       [OR]   I have no documents



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                                                        VERIFICATION



              I,                                               declare under penalty   of perjury subject to   all

  applicable laws, that           I   have carefully reviewed the final copy of this Plaintiff Fact Sheet dated

                           and verified that all of the information provided is true and correct to the best   of

  my knowledge, information and belief.




                                                   IS   ignature of Plaintiff]




                           VERIFICATION OF LOSS OF CONSORTIUM (if applicable)

              I,                                              declare under penalty    of perjury subject to all
  applicable laws, that I have carefully reviewed the final copy of this Plaintiff Fact Sheet dated

                      and verifred that all of the information provided is true and correct to the best of my

  knowledge, information and belief,




                                                   ISignature of Consortium Plaintiffl




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION
  IN RE: COOK MEDICAL, INC., IVC
  FILTERS MARKETING, SALES PRACTICES
  AND PRODUCT LIABILITY LITIGATION
                                                      Case   No.: l:14-ml 2570-RLY-TAB
                                                      MDL No. 2570
  This Document Relates

  Case No:




  Defendant:
                 [Name of Defendant]


                                  DBFENDANT FACT SHEET

          For each case, the Cook Defendants must complete this Defendant Fact Sheet ("DFS") in
  accordance with the schedule established by the Court's Pretrial Order. In completing this Fact
  Sheet, you are under oath and must answer everv question.

          The DFS shall be completed in accordance with the requirements and guidelines set forth
  in the applicable Case Management Order. A completed Fact Sheet shall be considered
  interrogatory answers pursuant to Fed. R. Civ. P. 33 and 34 and will be governed by the
  standards applicable to written discovery under Fed. R. Civ. P. 26 through 37. Therefore, you
  must supplement your responses if you learn that they are incomplete or incorrect in any material
  respect. The questions and requests for production of documents contained in this Fact Sheet are
  non-objectionable and shall be answered without objection. This Fact Sheet shall not preclude
  Plaintiffs from seeking additional documents and information on a reasonable, case-by-case
  basis, pursuant to the Federal Rules of Civil Procedure and as permitted by the applicable Case
  Management Order.

          This DFS must be completed and served on all counsel representing a plaintiff in the
  action identified in Section I below. Complete fact sheets must be answered and served by May
  1,2015 in accordance with the Case Management Plan entered by this Court on November 25,
  2014 (Doc.57).

         To the extent thata response to the DFS is contained in previously produced documents,
  the responding defendant(s) may answer by referencing the previously produced document(s).
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  Such reference must contain sufficient information andlor instructions, including Bates numbers,
  to allow Plaintiff to access the answer requested with minimal effort.

          Each document request and interrogatory not only calls for knowledge but also for all
  knowledge that is available to you by reasonable inquiry, including inquiry of your officers,
  directors, employees, contractors and agents.

         To the extent that the form does not provide enough space to complete your responses or
  answers, please attach additional sheets as necessary. Please identify any documents that you are
  producing responsive to a question with Bates-Stamp identifiers.

          In filling out this form, "document" and "documents" mean and refer to a writing and/or
  recording as defined by Federal Rule 34, including, without limitation, the following terms in
  their broadest sense, whether printed or recorded or reproduced by any other mechanical process,
  or written or produced by hand: agreements, "communications", State and Federal governmental
  hearings and reports, correspondence, telegrams, memoranda, summaries or records of telephone
  conversations, slrmmaries or records of personal conversations or interviews, diaries, graphs,
  repofts, notebooks, note charts, plans, drawings, sketches, maps, summaries or records of
  meetings or conferences, summaries or reports of investigations or negotiations, opinions or
  reports of consultants, radiographs, photographs, motion picture films, brochures, pamphlets,
  advertisements, circulars, press releases, drafts, letters, any marginal comments appearing on any
  document, and all other writings.

         In hlling out this form, the word "conlmunication and/or "correspondence" shall mean
  and refer to any oral, written, spoken, or electronic transmission of information, including, but
  not limited to, meetings, discussions, conversations, telephone calls, memoranda, letters, emails,
  text messages, postings, instructions, conferences, seminars, or any other exchange of
  information between Defendants and any other person or entity.

          In filling out this form, "healthcare provider" shall mean any medical provider, doctor,
  physician, surgeon, pharmacist, hospital, clinic, medical center, physician's office, infirmary,
  medical/diagnostic laboratory, or any other facility that provides medical care or advice, along
  with any pharmacy, x-ray department, radiology department, laboratory, physical
  therapist/physical therapy department, rehabilitation specialist or chiropractor.

         In filling out this form, the terms "You", "Your", or "Yours" refer to the person who
  sold, marketed, researched, designed, manufactured, consulted, or represented a Cook Vena
  Cava Filter manufactured and/or distributed on behalf of Cook Group Companies, including
  Cook Medical Incorporated, Cook Incorporated, Cook Group Incorporated and/or William Cook
  Europe ApS ("Cook Group Defendants") and who is identified in Question I below.

         In fìlling out this form, "key opinion leader" or "thought leader" shall mean and refer to
  physicians, often academic researchers, who are believed by Defendants to be effective at

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  transmitting messages to their peers and others in the medical community. This term shall mean
  and refer to any doctors or medical professionals hired by, consulted with, or retained by
  Defendants to, amongst other things, consult, give lectures, respond to media inquiries, conduct
  clinical trials, write articles or abstracts, sign their names as authors to articles or abstracts
  written by others, and occasionally make presentations on their behalf at regulatory meetings or
  hearings.



  I.      CASE INFORMATION

  This DFS pertains to the case captioned above:

  Case Number and Court          in which action was originally filed, if other than Case No.: l:14-ml
  257O-RLY-TAB, MDL No. 2570

  Date this DFS was cornpleted:


          A.   Please provide the   following information on the person or persons who provided the
               information responsive to the questions posed in this DFS:

                  1. Name;
                  2. Current position (if no longer employed, last position with Defendant(s));
                  3. City of employment (if no Ionger employed, city of residence).

  II.     CONTACTS WITH TREATING AND EVALUATING PHYSICIANS

  Ptaintiff has identified each healthcare provider who treated and/or evaluated Plaintiff for deep
  vein thrombosis, pulmonary embolism, andlor associated conditions that led to the use of
  Defendants' Cook Inferior Vena Cava Filter. As to each such healthcare provider, provide the
  fol low ing information   :




          A. CONSULTATION AND              OTHER NON-SALES REPRESENTATIVD CONTACTS

          As to each identified healthcare provider with whom the Defendants were affiliated,
          consulted or otherwise had contact outside the context of sales representative contacts, set
          forth the following:

                  1.        Iclentity of the healthcare provider(s) contaoted.

                  2.        Identity and title of each of Defendants' employees who had such contact
                            with the healthcare provider(s).

                  3.        Dates of contactlaffiliation   with healthcare provider(s), if available,

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              4    Nature and reason for the contact/affiliation with healthcare provider(s).

              5    Set forth any monetary and/or non-monetary benefits, including, but not
                   limited to, money, travel, and device samples, provided to the healthcare
                   provider(s) by any agent of any named Defendant, including amounts,
                   dates, and purpose.

              6    For any device manufactured by any named Defendant, set fofth any
                   training provided to or by the healthcare provider including, but not
                   limited to, date, location, healthcare provider's role, cost for attending
                   such training, and subject matter.

              7    Set forth any andall services andlor contractual relationships between the
                   healthcare provider(s) and any named Defendant, including, but not
                   limited to:

                   a. whether the provider participated in any study or clinical trials as a
                   principal investigator or supervising physician at any study site which was
                   sponsored by Defendant(s) on Defèndants' behalf;

                   b. whether the provider has spoken on behalf of Defendant(s) or any    of    its
                   products;

                   c. whether the provider has served in any capacity on any advisory board,
                   etc.;

                   d. whether the provider has ever served as a Key Opinion Leader or
                   Thought Leader for, or on behalfof, any ofthe named defendants;

                   e. whether the provider has functioned in any capacity promoting
                   Defendants'products;

                   f.   whether the provider has ever been employed by or under contract to
                   Defendant(s).

             8     List any written agreements, contracts, letters, memoranda, or other
                   documents setting forth the terms or nature of any contact or affiliation
                   with the healthcare provider; this includes, but is not limited to, any
                   agreements to research or otherwise study any named Defendant's
                   products,

             9     For each facility where the healthcare providers were associated, set forth
                   the number and type of Cook Inferior Vena Cava Filter(s) purchased from
                   you, or otherwise provided by you.



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                10.    Set forth any contact between the Defendants and the healthcare provider
                       with regard to the Plaintift this includes, but is not limited to, any
                        information   orknowledge Defendants have with respect to research
                       studies conducted on or that include information related to Plaintiffs
                       implant or associated lot number.

                ll      Set forth   all information provided by the healthcare provider to the
                       Defendants with regard to the safety, use, or efficacy of the Defendants'
                       product(s).



        B. SALES REPRESENTATIVE AND OTHER RELATED CONTACTS
        As to   each sales representative, supervisor of sales representative, Marketing
        Organization Representatives, medical liaisons, and/or other detail persons
        ("Representative") who had any contact with an identified physician or healthcare
        provider, set forth the following:

                l.     Identity of healthcare provider(s) contacted

               2       Dates of contact with healthcare provider(s),   if available

               3       Nature and description of the contact with healthcare provider(s).

               4       Identity and last known            address     and   telephone number of
                       Representative(s).

               5       The work history with you and current relationship,        if   any, between the
                       specified Defendant(s) and the Representative(s).

               6       Identity     of the   Representative(s)' supervisor(s)           during   his/her
                       ernployment,

               7       Identify     all district andlor regional       sales managers, Marketing
                       OrganizaTion Representatives, medical liaisons, andlor other detail persons
                       ("Representative") who came in contact with any of Plaintiffls identified
                       healthcare provider(s), and their current relationship, if any, with Cook
                       Group Companies, including name, business address, and responsibilities.

               I       For each Sales Representative, Sales Manager, Marketing Organizaf.ion
                       Representative, medical liaison, and/or Representative, please produce the
                       most current Curriculum Vitae or Resume. If the Company is not in
                       possession of a Curriculum Vitae or Resume, produce the portion of that
                       person's personnel    file that reflects their educational background and
                       experience over the past   l0 years.


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              9       For each Sales Representative, Sales Manager, Marketing Organization
                      Representative, medical liaison, and/or Representative, please provide
                      whether within the last ten (10) years any of the individuals have been
                      convicted of, or plead guilty to, a felony and/or crime of fraud and
                      dishonesty, and if yes, when the felony and/or crime of fraud and
                     dishonesty occurred,

              10     Produce all annual, semi-annual or quarterly Plans of Action ("POA")
                     documents used to set out the performance goals and expectations of the
                     sales representatives/teams/territories/company (whether in terms of
                     market share, total prescriptions/new prescriptions, or dollar sales
                     volume); the approved messaging for Representative(s); and that sets out
                     all approved promotional materials (whether approved for "leave behind"
                     or not).

              12,    If   Defendants      or their Representatives, Sales Representatives,
                     Representative(s) or Managers have ever provided any of Plaintiffs
                     healthcare provider(s) with Cook Inferior Vena Cava Filter(s) samples,
                     please provide the identity of the person or entity who received the
                     samples, the date(s) the samples were shipped, the date on which the
                     samples were provided, the number and lot numbers of such samples, and
                     the name of the person who provided the samples.

              13.    Set forth all information provided by the healthcare provider to the
                     Representatives, Sales Representatives, Representative(s) or Managers
                     with regard to the Plaintiff,
              t4     Set forth   all   information provided by the the Representatives, Sales
                     Representatives, Representative(s)    or Managers with regard to the
                     Plaintiffs.

              l5     Set forth the date and location of each operation or procedure performed
                     on the Plaintiff which was attended at all by the Sales Representatives,
                     Representative(s) or Managers.

              t6     State whether the sales representative, Sales Manager, Marketing
                     OrganizaLion Representative, med ical l iaison, andl or Representative whi le
                     employed by you, or acting as an agent or independent contractor on your
                     behalf, has ever been investigated, reprimanded, and/or otherwise
                     penalized by any person, entity, or government agency for his/her sales or
                     marketing practices, and if so set forth the details thereof.



  III.   INFORMATION REGARDING THE PLAINTIFF: COMMUNICATIONS AND
         RELATIONSHIPS WITH PLAINTIFF'S HEALTHCARE PROVIDERS
         A.   Identify all data, information, objects, and reports in Defendants' possession or
              control or which have been reviewed or analyzed by Defendants, with regard to

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              the Plaintiffs medical condition; this also includes, but is not limited to, any
              study or research that includes Plaintiffs specific implant or associated lot
              number. Attorney-work product is specifically excluded from this request.

        B    Identify any direct or indirect contact, either written or oral, between the Plaintiff
             and any employee or representative of the Defendants, including, but not limited
             to, pre-operative inquiries, post-operative complaints, "Dear Healthcare Provider"
             letters, "Dear Doctor" letters, "Dear Colleague" letters or other similar type of
             document or letter concerning Cook Inferior Vena Cava Filters, recall letters,
             telephone or email contacts or meetings. This request specifically includes, but is
             not limited to, calls to the M.S.&S. hotline and calls to the Field Assurance
             Department. For any "Dear Healthcare Provider", "Dear Doctor or "Dear
             Colleague" letters that you contend were actually sent to the plaintiffs health care
             providers concerning IVC Filters, please provide: (l) The letter(s) to whom it
             was sent including the address, (2) Dates sent; and (3) Any document, database,
             or list which tends to show recipient was and/or received the letter. Please identify
             the person who provided information responsive to any requests included in the
              letter.

        C    Identify and produce any Physician's lnformation Request Letters ("PIR") or
             other similar information request that has ever been initiated between the Plaintiff
             and any employee or representative of the Defendants relating to Cook Inferior
             Vena Cava Filters, and identify the date of the request and the recipient, the name
             and address of the sender or requestor, the corresponding bates number of the
             request, and whether or not a response to the PIR or other similar information
             request was sent or provided.

        D    Produce conrmunications between the Defendants, the sales representative
             company and/or sales representative(s), Sales Manager, Marketing Organization
             Representative, medical liaison, and/or Representative identified in section B
             above and Plaintiff, to the extent not contained in the complaint file, if any, and
             identify the Bates numbers of such communications.

        E.   Produce and identify any documents that relate in a reasonably direct manner to
             consulting agreements, if any, between Defendants and any of Plaintiff s
             healthcare providers, including, but not limited to, all consulting relationships to
             provide advice on the design, study, testing or use of inferior vena cava devices,
             or to consult as a thought leader, opinion leader, member of speaker's bureau or
             similar arrangement. For any of these relationships, please provide the title,
             location and date of any speaker's programs or conferences attended by Plaintiff s
             healthcare provider(s), all speakers ar the programlconference, and the
             agenda/brochure for the conference/program.

        F    Produce documents that relate in a reasonably direct manner to relationships, if
             any, between Defendants and any of Plaintiff s healthcare providers to conduct
             any pre-clinical, clinical, post-marketing surveillance or other study or trial
             concerning any blood clot preventative systems, including, but not limited to, the
             Cook Inferior Vena Cava Filters.

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        G     Produce and identify documents that reflect financial compensation, things of
              value and promotional items provided by Defendants to Plaintiffls healthcare
              providers. Please include all fees, expenses, honoraria, royalties, grants, gifts,
              travel (i.e., airfare, hotel, etc.) and any otherpayments orthings of value given.

        H.    Identify all Adverse Event Reports, and all versions of any MedWatch forms
              and/or any other documents submitted to the FDA or any other government
              agency with regard to the Plaintiff.

              If you have any evidence or records indicating or demonstrating the possibility
              that any person, entity, condition, or product, other than the Defendants and their
              product(s), is a cause of the Plaintiff s injuries, ("Alternate Cause") set forth:

              l.       Identify the Alternate Cause with specificity.

              2.       Set forth the date and mechanism of alternate causation

        J     If Plaintiffs implanting  physician ever contacted you requesting information
             concerning Cook inferior vena cava filters, its indications, effects, andlor risks? If
             so please identify and attach any documents which refer to your communication
             with Plaintiff s Implanting Health Care Provider,

        K.    In Plaintiffls Fact Sheet, Plaintiff identified his/her Implanting Health Care
             Provider(s). For each listed provider, please state and produce the following: Do
             you have or have you had access to any database or information which purports to
             track any of Plaintiffls Implanting Health Care Provider's implanting practices
             with respect to Cook lnferior Vena Cava Filter(s). If yes, please produce or
             identify the database or document which captures that information,



  IV    MANUFACTURING INFORMATION

        A.    ldentify the lot number(s) for the device(s) implanted into the Plaintiff.

        B.   Identify the lot number(s) for the device(s) used          to implant the Defèndants'
             device(s) into the Plaintiff.

        C.   Identify the location and date of manufacture for each lot set forth in response to
             A and B above.

        D.   Identify the date of shipping and sale, and the person or entity purchasing, each of
             Plaintiff s device(s).

        E.   Identify all manufacturing facilities and associated lot number(s) of Plaintiffls
             implanted device(s), including, but not limited to, all trocars and any other


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                 surgical devices    or   means   of   implantation included   or sold with Plaintiffs
                 implant(s).

         F       Other than Cook related entities, and those entities listed in Sections IV(A-F)
                 herein, the chain of custody of the device from Cook to the healthcare provider.


  V             PLAINTIFF'S MEDICAL CONDITION:

         A       Have you been contacted by Plaintiff, any of his/her physicians, or anyone on
                 behalf of Plaintiff concerning Plaintiff? If yes, please provide: a) the name of the
                person(s) who contacted you; b) the person(s) who were contacted including their
                name, address and telephone number; and c) produce or identify any and all
                documents which reflect any communication between any person and you
                concerning Plaintiff.



  VI           DOCUMBNTS

  Please ensure that the production of documentation includes specific reference to the question to
  which the documentation is provided in response. Documentation is defined to include all forms
  of documents, including, but not limited to, paper, email, video, audio, spreadsheets, or
  otherwise.

         A      Identify and attach complete documentation of all information set forth in I
                through IV above; except, you may identify but not serve copies of medical
                records that were provided to Defendants by Plaintiffls counsel.

         B      Aside from any privileged materials, identify and attach all records, documents,
                and information that refer or relate to the Plaintiff in Defendants' possession or
                control, to the extent not identified and attached in response to a prior question.

         C      Producc a true and complete copy of the Device History Record for the Plaintiff         s

                lot number(s).

         D      Produce a true and complete copy of the complaint file relating to the Plaintiff.

         E.     All call   notes, detail notes, call summaries, entries made by sales representatives
                into any database or e-room, laptop or other computer or handheld device, hard
                copy documents, emails, andlor notes or records or summaries of calls, contacts
                andlor communications of any kind regarding each implanting or treating
                physician for plaintiff during the relevant time period.

         F      Call notes f'or all of the plaintiffs' providers who were called upon by Defendants.


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        G     Detail, sample and voucher history of IVC Filters for the plaintiffs healthcare
              provider and/or entity.

        H     Copies of all medical/scientific articles or information related to any IVC Filter
              provided by Defendant(s) employees, representatives, sales representatives,
              contractors or agents to plaintiff s healthcare provider(s).

        I     Any and all documents reviewed, referred to or relied on in answering this DFS.




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                                         VERIFICATION

                                 declare under penalty of perjury subject to all applicable laws:

  That     am an authorized agent of Cook Group Companies and that I verify the Defendants'
            I
  Response   to Plaintiffls Fact Sheet addressed to the Cook Defendants in In re: Cook Medical
  Devices, Inc., IVC Filters Marketing, Sales Practices and Product Liability Litigation, Case No.:
   I :14-ml 2570-RLY-TAB, MDL No. 2570, and that the matters stated therein are not the personal
  knowledge of deponent; that the facts stated therein have been assembled by authorized
  employees and counsel of Cook Group Companies and deponent is informed that the facts stated
  therein are true. I hereby certify, in my authorized capacity as an agent for Cook Group
  Companies, that the responses to the aforementioned Defendants' Fact Sheet are true and
  complete to the best of Cook Group Companies' knowledge.




  [Name]



  ISignature]


  [Cook Group Company Name]


  ITitle]




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